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                        THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF FLORIDA
                              FORT MYERS DIVISION

DIANE BARTHOLOMEW,              )
MICHAEL SHERRY,                 )
on behalf of themselves and all others
                                )
similarly situated,             )
                                )
       Plaintiff,               )
                                )
v.                              )                    CASE NO.:_________________________
                                )
LOWE’S COMPANIES, INC. a/k/a    )
LOWE’S HOME IMPROVEMENT,        )                    JURY DEMAND
a/k/a LOWE’S HOME CENTERS, LLC, )
d/b/a LOWE’S,                   )
                                )
       Defendant.               )
                                )

      COLLECTIVE ACTION COMPLAINT WITH DEMAND FOR JURY TRIAL

       COMES NOW Plaintiffs, Diane Bartholomew and Michael Sherry, along with opt-in

Plaintiffs Willis Pelton and Jason Slater (hereinafter “Plaintiffs”) on behalf of themselves and all

others similarly situated, by and through their undersigned counsel, and hereby file this lawsuit

against Defendant, Lowe’s Companies, Inc. a/k/a Lowe’s Home Improvement a/k/a Lowe’s Home

Centers, LLC d/b/a Lowe’s (hereinafter “Defendant” or “Lowe’s”) and state as follows:

                                           Introduction

       1.      This Complaint is a class action / collective action brought by Diane Bartholomew

and Michael Sherry on behalf of themselves and all the other similarly-situated individuals

(including by current opt-in Plaintiffs, Willis Pelton and Jason Slater) who have been or may have

been affected or will be affected by the discrimination alleged below. This is an action for

declaratory judgment, equitable relief, and money damages, instituted to secure the protection of

and redress the deprivation of rights secured by the Age Discrimination in Employment Act of



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1967 (ADEA), which is codified at 29 U.S.C. § 621 et seq. Plaintiffs and the class they seek to

represent seek equitable relief, monetary relief (to the extent necessary depending upon when relief

is awarded to them and the class, as discussed further herein), a jury trial on all issues triable to a

jury, and attorney’s fees and costs.

                                       Jurisdiction and Venue

       2.      The jurisdiction of this Court is invoked pursuant to 28 U.S.C. § 1331 and 29 U.S.C.

§ 626(b) (ADEA provision incorporating the collective action mechanism of the Fair Labor

Standards Act, 29 U.S.C. §§ 201-219).

       3.      Venue is proper pursuant to 28 U.S.C. § 89 (b), § 1391(b) and § 1404(a), including

because Defendant resides in this district.

                                       Administrative Remedies

       4.      Plaintiff Bartholomew filed a charge of discrimination against Defendant with the

Equal Employment Opportunity Commission within 300 days of the occurrence of the last

discriminatory act and has instituted this action within 90 days of receiving notice of her Right to

Sue. A true and correct copy of her EEOC Charge and Right-To-Sue Letter is attached hereto as

Composite Exhibit A.

       5.      Plaintiff Sherry filed a charge of discrimination against Defendant with the Equal

Employment Opportunity Commission within 300 days of the occurrence of the last discriminatory

act and requested a right-to-sue letter without investigation. A true and correct copy of his EEOC

Charge is attached hereto as Exhibit B. Plaintiff will file a copy of his right-to-sue once received,

it has been requested.




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                                              Parties

       6.      Plaintiff, Diane Bartholomew, is a citizen of the United States, is sixty-one years

old, and is a resident of Summerville, South Carolina.

       7.      Plaintiff, Michael Sherry, is a citizen of the United States, is sixty-two years old,

and is a resident of Naples, Florida.

       8.      Current opt-in Plaintiffs, Willis Pelton (a fifty-four year old male) and Jason Slater

(a forty-eight year old male), are residents of South Carolina.

       9.      Defendant, Lowe’s Companies, Inc. a/k/a Lowe’s Home Improvement d/b/a

Lowe’s is a corporation conducting business in the State of South Carolina, the other forty-nine

states and Canada, and is headquartered in or near Mooresville, North Carolina. Lowe’s is the

world’s second largest home improvement retailer.

       10.     Lowe’s is an employer within the meaning of that term as used in the ADEA and

is an enterprise engaged in commerce within the meaning of the ADEA. At all times pertinent to

the matters alleged herein, Lowe’s has employed twenty (20) or more employees.

       11.     At all times material to this action, Plaintiffs Bartholomew, Pelton, and Slater were

and are employed by Defendant at the Summerville, South Carolina location (1207 North Main

Street, Summerville, South Carolina 29483 (“Summerville Store”), although Plaintiff

Bartholomew worked in the past at Lowe’s New Lenox, Illinois store.

       12.     At all times material to this action, Plaintiff Sherry was and is employed by

Defendant at the Naples, Florida location (12730 Tamiami Trail East, Naples, Florida, 34113

(“Naples Store”), although he worked in the past at Lowe’s New Lenox, Illinois store.




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                                          Factual Allegations

        13.        On or about August 6, 2019, Lowe’s informed Plaintiffs and, on information and

belief, all other potential opt-in Plaintiffs that it was ending its “allowance” pay for sales associates,

like Plaintiffs.

        14.        From prior to 2011 to present, Plaintiffs have worked for Lowe’s in hourly

positions, as sales associates.

        15.        Until February 2012, Lowe’s paid Plaintiffs their hourly rate of pay plus

commissions based on the “spiff” received from the manufacturer for each sale.

        16.        Depending upon their individual sales volume, Lowe’s sales associates would

typically earn approximately $15,000 to $75,000 in spiff/commissions each year from sales.

        17.        Spiffs/commissions were earned by hourly sales associates from selling appliances,

cabinets, flooring, and millwork (and perhaps from other types of sales).

        18.        Employees hired to work in sales associates’ positions prior to 2012 were typically

older persons and older than the average Lowe’s new hire, often forty years or older prior to 2012.

        19.        In late 2011, Lowe’s announced it was ending the practice of paying employees

spiffs/commissions effective February 11, 2012, excepting certain types of employees, infra.

        20.        However, to “offset the loss in variable pay” to sales associates by ending

spiff/commissions, Lowe’s announced it was “replacing a portion of this income with an

adjustment in affected employees pay equivalent to 50% of their 2011 earnings received from

SPIFFS and commissions (paycheck dates 1/28/2011 through 1/13/2012),” also known as the pay

“allowance” described further herein.

        21.        The only exceptions to this change was for Lowe’s employees “who earned less

than $250.00 in SPIFFS/Commissions” and for “Project-Specialists – Exteriors and Project



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Specialists- Interiors” who were excluded from this change and continue to have “variable

elements as part of their overall compensation structure,” i.e. these persons continue to receive

SPIFFS/Commissions.

       22.     Lowe’s continues to employ and pay Project Specialists, at least Project Specialists

Exteriors (PSE’s) (and, on information and belief, other categories of employees), with one PSE

at each Lowe’s store nationwide, and these persons continue to receive SPIFFS/Commissions.

       23.     On information and belief, at the Naples Store, the current PSE is Kevin O’Malley

who is younger than Plaintiffs at the Summerville Store. The previous PSE at this store through

August 2019 is Zach Satterfield, who is also younger than Plaintiffs at the Summerville Store.

       24.     On information and belief, at the Summerville Store, the current PSE is Nicole

Myers who is younger than Plaintiff Sherry.

       25.     Lowe’s stated that the purpose of ending the SPIFFS/Commissions was “moving

away from these variable pay components to more fixed pay brings stability to our employees.”

       26.     Lowe’s also stated to sales associates that “employees will be able to retain this pay

‘allowance’ as long as they remain employed with a Lowe’s store in an hourly position.”

       27.     Lowe’s has and continues to receive the spiffs monies from the manufacturers

previously remitted to the sales associates like Plaintiffs and, on information and belief, continues

to remit them to PSE’s and other non-sales associates, and/or simply pockets the money toward its

bottom-line revenues.

       28.     Plaintiff Bartholomew earned $24,763.44 in spiffs in 2011, and, since February 11,

2012, has been paid the allowance of $476.22 per pay period (or $12,381.72 annually which is

50% of her 2011 spiffs, at 26 pay periods annually).




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       29.     Plaintiff Sherry earned $24,201.84 in spiffs in 2011, and, since February 11, 2012,

has been paid the allowance of $465.42 per pay period (or $12,100.92 annually which is 50% of

his 2011 spiffs, at 26 pay periods annually).

.      30.     Plaintiff Pelton earned $23,920.00 in spiffs in 2011, and, since February 11, 2012,

has been paid the allowance of $460.00 per pay period (or $11,960.00 annually which is 50% of

his 2011 spiffs, at 26 pay periods annually).

       31.     Plaintiff Slater earned $32,316.96 in spiffs in 2011, and, since February 11, 2012,

has been paid the allowance of $621.48 per pay period (or $16,158.48 annually, which is 50% of

his 2011 spiffs, at 26 pay periods annually).

       32.     All Plaintiffs, including prospective plaintiffs and members of the class, continue

their role in selling Lowe’s products for which Lowe’s continues to earn the spiff/commissions

from the manufacturers.

       33.     As announced in August 2019, effective February 2020, Lowe’s will eliminate all

spiff/commission allowances to sales associates and Plaintiffs have been told by Lowe’s managers

that this elimination of the allowance applies to all Lowe’s sales associates that are presently

receiving the allowance.

       34.     This action is brought pursuant to the ADEA, and specifically the collective action

provision of the ADEA, 29 U.S.C. § 626(b), for equitable and injunctive relief based on the

disparate impact and/or disparate treatment of Plaintiffs, on behalf of themselves and those others

similarly situated, seeking to redress on a collective basis for systemic practices engaged in by

Lowe’s resulting in discrimination against its older work force, which practices are continuing in

nature. In short, this lawsuit seeks to enjoin Lowe’s from ending its “allowance” pay to Plaintiffs




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and those similarly situated and to recover money damages for both its unlawful disparate impact

and disparate treatment.

        35.     To the extent this lawsuit continues past Lowe’s implementation of its previous

decision and corporate-wide policy in August 2019 to end allowance pay (i.e. there is no resolution

to this lawsuit concerning the class action allegations herein prior to February 2020), Plaintiffs

seek money damages in an amount equal to the respective allowance amounts they should have

been paid by Lowe’s in 2020 and beyond, as well as an equal amount as liquidated damages, as

well as interest, attorney’s fees, and costs.

        36.     Once the discovery process in this matter is underway, the roles of unknown

persons, potential conspirators and participants in the wrongdoing herein will likely be revealed,

and Plaintiffs and the class they seek to represent reserve the right to seek leave of Court to further

amend this Complaint to add new parties and/or new claims.

        37.     The above-referenced policies, patterns, practices, and omissions, which adversely

impact older employees constitute willful violations of the ADEA. Lowe’s arbitrarily and routinely

employs such policies and practices systematically and continuously to discriminate against older

workers, favoring younger workers, without any legitimate excuse or justification.

                                      Class Action Allegations

                    Count I – Disparate Impact In Violation Of The ADEA

        38.     Plaintiff incorporates by reference the previous allegations of this complaint.

        39.     At all relevant times, Lowe’s has been, and continues to be, an employer within the

meaning of the ADEA, 29 U.S.C. 630(b).

        40.     At all relevant times, Lowe’s has been engaged in interstate commerce or an

industry affecting commerce within the meaning of the ADEA. Id.



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       41.     Because the Plaintiffs range in age from 48 to 61 years-old at the time of the

decision to eliminate their allowances, the Plaintiffs are all members of a class of individuals

protected under the ADEA, and, on information and belief, all or most of the prospective class

members are also over the age of forty.

       42.     As confirmed and set forth by the Court in Smith v. City of Jackson, 544 U.S. 228

(2005) and Meacham v. Knolls Atomic Power Lab., 554 U.S. 84 (2008), the ADEA prohibits

Lowe’s from utilizing facially age-neutral policies that have a significant adverse disparate impact

on qualified workers over the age of 40, like Plaintiffs, unless Lowe’s can prove (which it cannot),

under its burden of proof of production and persuasion, that disparate impact caused by the

challenged policies and practices was premised on reasonable factors other than age.

       43.     On information and belief, Lowe’s decision to eliminate its allowances to sales

associates, although previously promised throughout their employment, will have and is having a

significant adverse disparate impact on Plaintiffs and other qualified employees over the age of 40

in violation of the ADEA. As a result, Plaintiffs and others similarly situated were denied

significant benefits of their employment that were promised by Lowe’s and were promised to

continue throughout their employment in an hourly position of sales associate.

       44.     While Plaintiffs cannot yet provide the exact statistical impact on them and the class

they seek to represent without the benefit of discovery, those adversely impacted by Lowe’s

discriminatory practices are, by default and by common sense given the passage of time (and the

fact most sales associates were older and more experienced in 2011), over the age of 40.

       45.     By failing to advise its workforce with statements that are true and accurate and

would continue to be true and accurate, waiting for years and to a point where employees have less

career mobility and ability to make such decisions (under the false justification that the purpose of



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the switch from spiffs/commissions to fixed allowances was to “bring stability to our employees”),

Lowe’s discriminated against Plaintiffs and the class of similarly situated employees over the age

of 40 in contravention of the prohibitions on age discrimination set forth in the ADEA.

          46.   As a direct and proximate result of the foregoing violations of the ADEA, Plaintiffs

have and will sustain injury, including, but not limited to, elimination of their allowances, a

substantial part of their pay structure and anticipated pay structure and therefore, seek injunctive

relief and associated money damages, liquidated damages, attorney’s fees and costs.

      Count II – Pattern & Practice Disparate Treatment In Violation Of The ADEA

          47.   Plaintiff incorporates by reference paragraphs 1 through 37 as if previously set forth

herein.

          48.   At all relevant times, Lowe’s has been, and continues to be, an employer within the

meaning of the ADEA, 29 U.S.C. 630(b).

          49.   At all relevant times, Lowe’s has been engaged in interstate commerce or an

industry affecting commerce within the meaning of the ADEA. Id.

          50.   Because the Plaintiffs range in age from 48 to 61 years-old at the time of the

decision to eliminate their allowances, the Plaintiffs are all members of a class of individuals

protected under the ADEA, and, on information and belief, all or most of the prospective class

members are also over the age of forty.

          51.   Each of the Plaintiffs was and is well-qualified for their positions with Lowe’s and

have demonstrated a well-established record of success with the company prior to the adverse

action eliminating their allowances.

          52.   Each of the Plaintiffs and the class they seek to represent suffered adverse

employment action when Lowe’s decision, intentional in nature, was made to eliminate their



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allowances, while other, younger employees were treated more favorably – either because they did

not suffer any reduction in their earnings (e.g. FSE’s like Mr. O’Malley, Mr. Satterfield, and Ms.

Myers), or were provided with accurate information about prospective benefits and earnings in

their positions with an ability to avoid demotion and/or demotion by virtue of decreased remitted

monies for hours worked and increased sales, or were younger workers hired to replace persons as

sales associates because they were ineligible to receive allowances, or frustrated the purported

purpose of Lowe’s decision to start the allowances in the first place, i.e. because it will cause

instability gained by employees due to “fixed pay,” or Lowe’s intentionally kept these employees

earning allowances in employment stagnation by keeping them incentivized to avoid applying for

or seeking different non-hourly positions that would have potentially changed their career path(s)

with it or with another employer.

       53.     On information and belief, Lowe’s has and continues to receive the spiffs monies

from the manufacturers previously remitted to the sales associates Plaintiffs and the class they seek

to represent, and, continues to remit them to Project Specialists and other non-sales associates that

are substantially younger and/or simply pockets the money toward its bottom line revenues,

effectively creating a pattern and practice of discrimination against older sales associates.

       54.     Thus, the adverse employment action by Lowe’s against Plaintiffs occurred under

circumstances giving rise to an inference that Lowe’s acted against them by ending the allowances

due to their age, in violation of the ADEA, 29 U.S.C. § 621, et seq.

       55.     To date, Lowe’s has not offered any explanation for its decision to end the

allowances, other than to state they will be eliminated. However, the job duties being performed

by each of the Plaintiffs were critical to the ongoing operations of Lowe’s. Therefore, while the

allowance may have been eliminated, the job functions that allow for Lowe’s to recoup the SPIFFS



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certainly were not. This stated explanation for the ending of the allowance was merely a pretext

designed to disguise Lowe’s true motive – the elimination or economic demotion of older workers.

       56.    Lowe’s has similarly discriminated against all ADEA Class Members in the terms

and conditions of their employment, on the basis of their age, in violation of the ADEA.

       57.    As a consequence of the unlawful policy, pattern and practice, and unlawful

conduct of Lowe’s as described herein, Plaintiffs and prospective ADEA Class Members have

suffered damages in the form of prospective lost compensation (and after February 2020, lost

compensation), and seek front-pay and back pay, attorneys’ fees and cost, declaratory and

injunctive relief, potential loss of retirement benefits (depending upon the class members

arrangement with Lowe’s concerning pension and retirement), liquidated damages, and such other

relief as the Court may deem appropriate.

       WHEREFORE, Plaintiffs respectfully requests that this Court:

       (a) Enter a judgment declaring this action to be a collective action properly maintained

pursuant to 29 U.S.C. § 216(b), including to facilitate notice upon the class and conditionally

certify the class, that the Plaintiffs named herein be designated as representatives of the ADEA

Class, and that their counsel of record be designated as ADEA Class Counsel;

       (b) Enter a judgment declaring that Lowe’s patterns, practices and omissions, as above-

described, in ending the allowances of ADEA Class Members of the collective action who were

40 years of age or older at the time of the decision (whenever it was made, no later than August

2019) violates the ADEA;

       (c) Issue a permanent prohibitory injunction ordering Lowe’s and its officers, agents,

employees and successors to cease and desist from the unfair discriminatory employment patterns,




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practices, policies and omissions complained of herein, which result in the elimination of

allowances for employees forty-years of age or older;

        (d) Issue a permanent mandatory injunction requiring Lowe’s to take such affirmative

action as will effectuate the purposes of the ADEA, including adopting employment practices in

accord with the ADEA’s requirements;

        (e) Enter a judgment and award in favor of the Plaintiffs and the ADEA Class Members,

and against Lowe’s for reasonable monetary damages, including back pay (plus interest or an

appropriate inflation factor and an enhancement to offset any adverse tax consequences associated

with lump sum receipt of back pay), front pay, benefits and all other damages owed to the Plaintiffs

and the ADEA Class Members, in an amount proven at trial, resulting from Lowe’s unlawful and

discriminatory acts or omissions, including unlawful retaliation for opposing such practices;

        (f) Enter a judgment and award in favor of each of the Plaintiffs and each ADEA Class

Member for the maximum statutory amount of liquidated damages available under the ADEA;

        (g) Enter a judgment and award in favor of the Plaintiffs and the ADEA Class for costs,

including, but not limited to, reasonable attorney’s fees, experts’ fees, and other costs and expenses

of this litigation;

        (h) Enter a judgment and award in favor of the Plaintiffs and the ADEA Class for pre-

judgment and post-judgment interest;

        (i) Award such other and further legal and equitable relief as may be found appropriate

and as this Court may deem just and proper; and

        (j) Retain jurisdiction over this action until such time as it is satisfied that Lowe’s has

remedied the practices complained of and is determined to be in full compliance with the law,

including any potential OWBPA issues, including those arising from potential early resolution.



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          DEMAND FOR JURY TRIAL ON ALL ISSUES SO TRIABLE

   Plaintiffs hereby demand a trial by jury on all issues so triable.

   Respectfully submitted this 20th day of September, 2019.

                                          //s//Michael G. Green II, Esq.
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